       Case 10-50543-KJC   Doc 14   Filed 11/18/10   Page 1 of 67

                                                                    Page 1

1       UNITED STATES BANKRUPTCY COURT

2       DISTRICT OF DELAWARE

3       Lead Case No. 07-11079(KJC);

4       (Adversary Case Captions and Nos.

5       Attached as Exhibits A and B)

6       - - - - - - - - - - - - - - - - - - - - -x

7       In the Matter of:

8       HOMEBANC MORTGAGE CORPORATION, et al.,

9                     Debtors.

10      - - - - - - - - - - - - - - - - - - - - -x

11      GEORGE L. MILLER, CHAPTER 7 TRUSTEE OF HOMEBANC MORTGAGE

12      CORPORATION, et al.,

13                    Plaintiff,

14      v.

15      DEFENDANTS ON ATTACHED EXHIBITS A AND B

16                    Defendants.

17       - - - - - - - - - - - - - - - - - - - - -x

18                    United States Bankruptcy Court

19                    824 North Market Street

20                    Wilmington, Delaware

21

22                    April 19, 2010

23                    4:43 PM

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       Case 10-50543-KJC   Doc 14   Filed 11/18/10   Page 2 of 67

                                                                    Page 2

1       B E F O R E:

2       HON. KEVIN J. CAREY

3       CHIEF U.S. BANKRUPTCY JUDGE

4       ECR OPERATOR:          AL LUGANO

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       Case 10-50543-KJC   Doc 14   Filed 11/18/10   Page 3 of 67

                                                                    Page 3

1

2       Status Conference regarding all Adversary Proceedings listed

3       on attached Exhibit A.

4

5       Second Interim Application of Miller Coffey Tate LLP for

6       Compensation and for Reimbursement of Expenses as Accountants

7       to the Trustee for the Period from October 1, 2009 through

8       December 31, 2009 [Docket No. 2130, Filed 4/2/10].

9

10      Third Interim Fee Application of Edwards Angell Palmer & Dodge

11      LLP for Allowance of Compensation and for Reimbursement of

12      Expenses as Counsel to the Chapter 7 Trustee, George L.

13      Miller, for the Period from November 17, 2009 through March

14      31, 2010 [Docket No. 2131, Filed 4/2/10].

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25      Transcribed By:    Miriam Greenman

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       Case 10-50543-KJC   Doc 14   Filed 11/18/10   Page 4 of 67

                                                                    Page 4

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                                                                    Page 5

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                                                                    Page 6

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                                                                    Page 7

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                                                                    Page 8

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                                                                    Page 9

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                                                                     Page 10

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                                                                     Page 11

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                     HOMEBANC    Filed 11/18/10 Page 12 of et
                                            CORPORATION,   67al.

                                                                       Page 12

1                                 P R O C E E D I N G S

2                   THE CLERK: You may be seated.

3                   MR. MARTIN:     Good afternoon, Your Honor.    I

4       understand you've had a bit of a full day, so I thought we'd

5       get right to it.

6                   THE COURT:     Why should today be different from any

7       other?

8                   MR. MARTIN:     Well, we certainly appreciate --

9                   THE COURT:     Don't mean to ask the Passover question,

10      but, I get that feeling sometimes.

11                  MR. MARTIN:     Your Honor, this is the HomeBanc

12      Mortgage Corporation case, 07-11079.          Craig Martin from

13      Edwards Angell Palmer Dodge appearing on behalf of George L.

14      Miller, trustee.     Also have at counsel table, Mr. William

15      Burnett, who is special counsel and is working on several of

16      the adversary proceedings.          And I have one of my colleagues,

17      Ms. Aleine Porterfield, who's assisting in a lot of the

18      preferences actions.

19                  Judge, you have I think taken care of item number 1

20      on the agenda.     Item number 2 on the agenda I understand was

21      entered shortly before 4 o'clock, Mr. Burnett tells me.

22                  THE COURT:     I don't think I've entered the order on

23      number 1 yet.     And I think -- well, maybe I have.

24                  Yes I have. Okay.

25                  MR. MARTIN:     Okay.    Wonderful.

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       Case 10-50543-KJC Doc 14 MORTGAGE
                     HOMEBANC    Filed 11/18/10 Page 13 of et
                                            CORPORATION,   67al.

                                                                      Page 13

1                   THE COURT:    Now --

2                   MR. MARTIN:    That's what I thought.    Item number

3       3 --

4                   THE COURT:    -- let me ask you about that.

5                   MR. MARTIN:    Yes.

6                   THE COURT:    Because the order -- the form of order

7       didn't have the magic language that your client usually

8       requires.

9                   MR. MARTIN:    Okay.

10                  THE COURT:    But I signed it anyway.

11                  MR. MARTIN:    All right.

12                  THE COURT:    I'm not going to see a certification with

13      an amended order come in, am I?

14                  MR. MARTIN:    I don't think so.   I'll confer with my

15      colleague that I asked to read all of these to make sure they

16      had that language and understand why that wasn't done on this

17      instance.

18                  THE COURT:    Maybe I missed it, but that's what my

19      recollection tells me.

20                  MR. MARTIN:    We've been doing our best to double-

21      check all of them, Your Honor.

22                  THE COURT:    Okay.

23                  MR. MARTIN:    And I appreciate you doing the same.

24                  THE COURT:    No, I'm there for you.    Just --

25                  MR. MARTIN:    Well, I know Mr. Miller appreciates it.

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       Case 10-50543-KJC Doc 14 MORTGAGE
                     HOMEBANC    Filed 11/18/10 Page 14 of et
                                            CORPORATION,   67al.

                                                                    Page 14

1                   Item number 3 is our motion to establish procedures

2       for settlement, and I think you've entered the order on that

3       as well?

4                   THE COURT:    I have.

5                   MR. MARTIN:    And we're grateful for that.     Hopefully

6       that will help streamline some of these adversaries, which is

7       item number 4.     And I thought what I would do is I would

8       provide the Court with a brief status on where we are on the

9       adversary proceedings that have been filed in this Chapter 7

10      case.

11                  And then we have a form of scheduling order that we

12      would like to present.       And fortunately, since Your Honor has

13      a form on his web page, we only have a few people that need to

14      be heard today.

15                  THE COURT:    Okay.

16                  MR. MARTIN:    And a few items that I need -- I

17      promised counsel I would raise for Your Honor's consideration.

18                  THE COURT:    Very well.

19                  MR. MARTIN:    Your Honor, we filed a total of about

20      four hundred cases seeking to recover preferences in

21      fraudulent transfers.       Our firm filed 325; Mr. Burnett's firm

22      filed about 60.     Of the 325 that our firm filed, we have as of

23      yet not heard from about 106 of them.          We've had fifty-three

24      defendants file answers.          We have granted 126 extensions of

25      the answer date and we've been submitting stipulations to Your

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                     HOMEBANC    Filed 11/18/10 Page 15 of et
                                            CORPORATION,   67al.

                                                                    Page 15

1       Honor on those.

2                   We have had thirty-eight returned as undeliverable,

3       so we're looking into perhaps re-serving those.          And we have

4       two defendants who have informed us that the complaint was

5       sent to them in error.

6                   Added up that is 325.       Between the time that we filed

7       the cases and today, Your Honor, we have been very busy

8       working with defendants and we have reached agreements

9       settling almost fifty cases, thirty-two of which are going to

10      be dismissed and seventeen of which we've reached settlement

11      agreements with parties.        And now that Your Honor's entered

12      the settlement procedures order, we'll notice out those

13      settlements in accordance with that.

14                  So that leaves us where we are today, Your Honor,

15      which is hoping to get a scheduling order put in place so that

16      we can continue to move forward and prosecute these claims.

17      We did attach -- I don't know if Your Honor got the amended

18      agenda we sent --

19                  THE COURT:     I have it.

20                  MR. MARTIN:     -- which has attached to it the

21      scheduling order.        I thought what I would do is just kind of

22      walk it through paragraph by paragraph.          I know Your Honor is

23      very familiar with this since we based it on your form.

24                  So the first paragraph is the one that talks about

25      answers and responsive pleadings.          One party did indicate that

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                     HOMEBANC    Filed 11/18/10 Page 16 of et
                                            CORPORATION,   67al.

                                                                      Page 16

1       they wanted it clarified that a responsive pleading did not

2       include briefs and other replies, and we assured them that our

3       intent there was answers or other motions that would be filed

4       in response to your complaint.

5                   THE COURT:     That's correct.

6                   MR. MARTIN:     The second paragraph deals with the

7       26(f) conference.        We received a document from counsel to ADP,

8       Inc.   And they have indicated that in their experiences in

9       cases such as this, that 26(f) conferences oftentimes are not

10      very useful or sensible, and they have suggested that that

11      paragraph be removed.        We're not opposed to that.      However,

12      since this is Your Honor's form, we didn't want to just

13      blanketly agree to it.

14                  So I'm flexible either way on that.      If Your Honor

15      wants us to be meeting and discussing discovery issues,

16      certainly we can leave that in.         But many of these cases are

17      smaller cases, and the 26(f) conference is another point where

18      they have to pay for counsel.         So I'll defer to you on that

19      one.

20                  THE COURT:     I confess, I've never been asked to take

21      that out.     And frankly, I'm not inclined to.

22                  MR. MARTIN:     Okay.   Thank you, Your Honor.     We'll

23      leave it in.

24                  The third item is just the deadline for filing

25      additional disclosures, and we've provided, as you typically

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                     HOMEBANC    Filed 11/18/10 Page 17 of et
                                            CORPORATION,   67al.

                                                                   Page 17

1       prefer, that any extension of deadline be approved by Your

2       Honor.

3                   The fourth paragraph sets a date for fact discovery.

4       Your Honor, we'd -- I picked a date -- I modified the order

5       slightly from what's on your web page.         Instead of saying 90

6       days from the date an answer is filed, or 120 days from the

7       date an answer is filed, I picked a hard date.         And the reason

8       I did that is because our preference would be to enter the

9       same scheduling order and the var -- all of the various

10      adversaries, so that the estate could administer them in an

11      efficient fashion.

12                  THE COURT:     I'm perfectly fine with that.

13                  MR. MARTIN:     Okay.   And then we've set that September

14      17th date, which is a little bit longer than what Your Honor

15      usually has in his form of order.         A few defendants have

16      questioned whether that's long enough.         The trustee is

17      satisfied with it.        But certainly, if Your Honor thinks that

18      with this number of cases we need another month or two, we

19      could obviously move some of these dates back a month.

20                  THE COURT:     Well, do some of the defendants have

21      views on that, and would they like to be heard now on that?

22                  MR. MARTIN:     Certainly I can turn around and look at

23      the room and see -- I think there were two or three people

24      that commented on that.

25                  MR. HURFORD:     Good afternoon, Your Honor.   Mark

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                     HOMEBANC    Filed 11/18/10 Page 18 of et
                                            CORPORATION,   67al.

                                                                     Page 18

1       Hurford, Campbell & Levine, on behalf of Citibank.

2                   I have some comments that are frankly more general in

3       scope that relate more to the status of things, mainly against

4       Citibank, and the entry of the scheduling order in general.

5       If Your Honor would like to hear me now on that, I certainly

6       can move forward.        Or I could respond on the -- you know, I

7       don't have per se a specific issue with the discovery deadline

8       that Mr. --

9                   THE COURT:     Talk to me.

10                  MR. HURFORD:     Okay.   Your Honor, there were, shortly

11      before the statute ran, several complaints filed against

12      Citibank entities.        And I use that term very loosely.

13                  The complaints allege transfers as the filing

14      complaint upwards nine million dollars.         One of the complaints

15      was filed against Citibank Lockbox.         I would think it's not a

16      big surprise to anyone that Citibank Lockbox is not an entity.

17      That's not the only one that has this issue.

18                  The complaint goes through, and I'm not sure if Your

19      Honor's had a chance to read the complaints, but it goes

20      through and it has a -- the first count is a

21      preferential --

22                  THE COURT:     Well, if I've had the chance, I've let

23      that moment pass without taking advantage of it.           I confess.

24                  MR. HURFORD:     Understood.

25                  THE COURT:     Okay.

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       Case 10-50543-KJC Doc 14 MORTGAGE
                     HOMEBANC    Filed 11/18/10 Page 19 of et
                                            CORPORATION,   67al.

                                                                       Page 19

1                    MR. HURFORD:     The first count's a basic preferential

2       transfer count.      The next count is a fraudulent conveyance

3       count.      Next count is a post-petition transfer count.        The

4       next one is a void of the transfers -- certainly

5       understandable.      And then there's an impermissible setoff

6       count.

7                    The problem with these, for example, the post-

8       petition transfer count.         Or the recovery of impermissible

9       setoff count.      Well, it begins with an allegation like 'to the

10      extent that the defendant has offset a mutual debt.'            Post-

11      petition transfer, 'to the extent that you receive money post-

12      petition for a pre-petition debt.'

13                   Citibank's issue is there's five complaints filed

14      against it, alleging upwards of nine million dollars.            We

15      don't think that these counts really are meant to be anything.

16      It's our understanding that there was some sort of time

17      pressure, not sure I completely understand why.          But there was

18      some sort of a time pressure to get these on file and --

19                   THE COURT:     Could be a statute of limitations

20      pressure.

21                   MR. HURFORD:     Quite possibly.

22                   THE COURT:     Which tends to be important, I think.

23                   MR. HURFORD:     Yes.   And we understand that.    But the

24      problem is, and my co-counsel reached out shortly after

25      receiving these, and to -- counsel, to Mr. Miller, and said

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                     HOMEBANC    Filed 11/18/10 Page 20 of et
                                            CORPORATION,   67al.

                                                                   Page 20

1       hey, can we understand where these are coming from?        Can you

2       give us some more information?

3                   You know, for an entity like Citibank, the exhibit A

4       has a payment date and an amount paid, and whether it was a

5       check or a wire.

6                   THE COURT:     Counsel, I have to slow you down a little

7       bit and ask you what this has to do with scheduling?

8                   MR. HURFORD:     The problem is, is that we enter into a

9       scheduling order, and we have a May 28th date for a discovery

10      planning conference that Your Honor would like to go forward

11      with.   It's very tough to have a discovery planning conference

12      to talk about narrowing discovery, scope of discovery when we

13      don't even understand who they mean to sue, for how much?

14      What are the complaints?

15                  Same thing with initial disclosures.

16                  THE COURT:     Well, you have to separate two things.

17      At least from the Court's standpoint, it seems to me, that

18      it's not uncommon that in these mass preference filings, that

19      the -- either the liquidation trustee or the Chapter 7 trustee

20      is somewhat at a disadvantage with respect to identifying

21      correctly every defendant.

22                  What I like to see happen, what I would prefer to see

23      happen, is that the parties confer and try to make some

24      agreement on who the right defendant is.        And oftentimes, I

25      find that defendants don't really like to cooperate in that

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       Case 10-50543-KJC Doc 14 MORTGAGE
                     HOMEBANC    Filed 11/18/10 Page 21 of et
                                            CORPORATION,   67al.

                                                                      Page 21

1       exercise, by helping the plaintiff target the right defendant.

2                    I'm not saying that's happening here.        To the extent

3       those issues can't be worked out between the parties, you'll

4       just have to engage in a motion practice.           I know it's not

5       preferred.      It takes up your time and expense and your

6       client's time and expense, and frankly it takes up my time

7       too.

8                    I don't know how else to address that part of the

9       issue.      Now with respect to, you know, counts and complaints

10      that have no merit, I mean, that's a motion practice.

11                   MR. HURFORD:     Understood, Your Honor.     And to be

12      frank, we asked to be carved out of the proposed order.

13      Counsel said no, we'd rather have you included.            My real goal,

14      frankly, Your Honor, was to have this discussion put you -- at

15      least let you know of these concerns.           I know Your Honor

16      prefers that people have a scheduling order and to go work,

17      and if for some reason something doesn't work, file a motion

18      or ask for extra time.

19                   THE COURT:     You've been --

20                   MR. HURFORD:     We reserve our rights --

21                   THE COURT:     -- well informed.    You've been well

22      informed.

23                   MR. HURFORD:     -- to do that.    Thank you, Your Honor.

24                   THE COURT:     Okay.

25                   MR. BURNETT:     Your Honor, just briefly.     William

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       Case 10-50543-KJC Doc 14 MORTGAGE
                     HOMEBANC    Filed 11/18/10 Page 22 of et
                                            CORPORATION,   67al.

                                                                     Page 22

1       Burnett, Flaster Greenberg, on behalf of George Miller.

2       That's one of my conflict cases.

3                   I don't have anything to add, I just wanted to

4       respond that that's actually a case that we’re handling, and I

5       understand that Your Honor's ruling with respect to that.

6                   THE COURT:     I didn't -- I didn't make a ruling.

7                   MR. BURNETT:     I understood your comment.    Maybe I

8       misinterpreted.     But our feeling, Your Honor, is that sort of

9       as a matter of process we didn't want to let -- to carve out

10      individual defendants.        We wanted to have one global

11      scheduling order and if there were issues that arose, we could

12      certainly engage in motion practice.        We could file a motion

13      for extension if we were unwilling to do that, but we hope to

14      move forward expeditiously, and to work with them

15      consensually, so that there's not a problem.

16                  THE COURT:     Look, I understand that -- and I have

17      experience in this, Mr. Miller is in an aggressive litigant.

18      And that's, I guess, what the U.S. Trustee likes in her

19      Chapter 7 trustees.        But I would expect that within reason the

20      plaintiff here cooperate in, you know, straightening out

21      problems like the one that Citibank has identified here.             It

22      seems to me that that -- at least with respect to, you know,

23      naming a Lockbox as a defendant --

24                  MR. BURNETT:     Understood, Your Honor.

25                  THE COURT:     -- You know, we could straighten that

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                     HOMEBANC    Filed 11/18/10 Page 23 of et
                                            CORPORATION,   67al.

                                                                    Page 23

1       out.

2                   MR. BURNETT:     Sure.

3                   THE COURT:     Without Court intervention.

4                   Okay.   Thank you.

5                   MR. BURNETT:     Thank you, Your Honor.

6                   MR. MARTIN:     Okay, Your Honor.   Just moving along

7       through the order, paragraph 5 that we proposed is a paragraph

8       that's not in your form of order, that we've added and which

9       seeks to incorporate the principles and rules of 26(b)(5)(b)

10      and 26(f)(3)(d), specifically related in inadvertent

11      disclosure.

12                  We've not made this one sided.      It would apply to

13      both parties in the litigation.        If one of us produces to the

14      other something inadvertently, we would have the ability to

15      call that back.      And then if there was a dispute on whether it

16      should be produced, then we could talk about that further or

17      bring it under motion practice.        And that's what paragraph 5

18      deals with.

19                  THE COURT:     Any -- did you get any comments from any

20      of the defendants on this?

21                  MR. MARTIN:     We have not had any comments.

22                  THE COURT:     You know, that's an interesting addition.

23      And maybe that's one I should make to the form that's on the

24      website.     I haven't really -- I guess that my focus had been

25      more on the new rule of evidence as opposed to working it into

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                                            CORPORATION,   67al.

                                                                     Page 24

1       this order.      But it's probably not a bad idea.

2                    MR. MARTIN:    Thank you, Your Honor.

3                    So paragraph 6 is a paragraph that we've taken from

4       your schedule.      It deals with the expert reports.       It provides

5       that the party bearing the burden of proof would produce the

6       expert report first, and then any responding party must reply

7       within fifteen days.

8                    We have a little bit longer time for the solvency

9       issue.      Our thinking there was that the trustee may be dealing

10      with more than one expert, so we may just need the additional

11      time to respond to multiple expert reports.           We don't know how

12      this is going to play out.

13                   So that's why we proposed the end of the year for the

14      trustee's solvency reports.

15                   THE COURT:    And that's fine.   Just let me make a

16      comment based upon a recent experience I had in a case in

17      which there were multiple preference claims, multiple

18      defendants and a battle of the timely identification of

19      experts, and the difference between Rule 701 and Rule 702

20      experts.

21                   And it just comes down to this.     To the extent that

22      the parties wish to -- for whatever reason, whether there are

23      settlement discussions going on, or some other reason, go

24      beyond these dates, you should memorialize those agreements

25      and submit them to the Court for approval.           Not that you

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                     HOMEBANC    Filed 11/18/10 Page 25 of et
                                            CORPORATION,   67al.

                                                                   Page 25

1       wouldn't do that anyway, but I've just run into problems when

2       the parties didn't do that.

3                   I'm not criticizing anybody, I'm just saying that,

4       especially, you know, in cases like these where there's some

5       risk of confusion, let's put it that way, with respect to the

6       order in which these things are going to go.

7                   MR. MARTIN:    Thank you for that, Your Honor.   And in

8       fact, you've anticipated what we have in paragraph 13, which

9       is a provision that states that all of the deadlines in the

10      scheduling order may be extended only by the Court and only

11      upon written motion for good cause shown.

12                  But we have gotten some comments from some defendants

13      on that.     The question is often phrased as does this apply to

14      "internal deadlines" and the way I interpret that is if I

15      serve interrogatories on someone, they have an obligation to

16      respond within thirty days.       If I give them an extra thirty

17      days, I would presume I need not seek leave of the Court for

18      that.     But that if we sought to extend, for example, the

19      September 17th end of fact discovery deadline, that's the date

20      that we would need to come before the Court on.

21                  THE COURT:    And I think that's the right way to read

22      it.     Although I -- don't I say that you can extend by

23      stipulations so long as the Court approves it?

24                  MR. MARTIN:    Your Honor, I took paragraph 13 off the

25      form on the web page.

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                     HOMEBANC    Filed 11/18/10 Page 26 of et
                                            CORPORATION,   67al.

                                                                    Page 26

1                   THE COURT:    Yeah.

2                   MR. MARTIN:    And it says that they may only be

3       extended by the Court and only upon written motion for good

4       cause shown.     But we --

5                   THE COURT:    I've got to go back and update my order.

6       But I will tell you, I routinely approve by stipulation

7       agreements of the parties.          And the way I work that is that if

8       I see too many stipulations coming in, or I have a question,

9       I'll set it for a hearing.          But it seems to me, most of the

10      time if the parties agree, I will make an effort to

11      accommodate them.

12                  MR. MARTIN:    Okay.     Well, would it be acceptable to

13      the Court then if I added in or by stipulation after -- upon

14      written motion in that paragraph 13?

15                  THE COURT:    Yes.     So long as it's pro -- as I said,

16      presented to the Court for approval.

17                  MR. MARTIN:    All right.     I think that's the way that

18      will read with that change.

19                  THE COURT:    Okay.

20                  MR. MARTIN:    Your Honor, paragraph 7 is the reference

21      to the mediator and Judge Walrath's April 7th order.

22                  8 is a deadline for the mediation report, which is

23      sixty days after the order --that's the standard time frame.

24                  And then we got a comment on paragraph 9, Your Honor,

25      which is that there was some concern from counsel for a

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                     HOMEBANC    Filed 11/18/10 Page 27 of et
                                            CORPORATION,   67al.

                                                                    Page 27

1       gentleman named Mr. Aiken that the dispositive motion deadline

2       should be after the mediation report is due.          I think that's

3       sensible, and so we could change that October 1st, 2010

4       dispositive motion deadline to, I think, November 30th, would

5       get us clear of the mediation deadline and of the Thanksgiving

6       holiday.

7                   THE COURT:    Okay.

8                   MR. MARTIN:    And then with that, Your Honor, the

9       deadline in paragraph 11 for when you wanted to start setting

10      these for trial.     It may be more appropriate to bump that

11      another month to be in --

12                  THE COURT:    Never.

13                  MR. MARTIN:    February.   What's that?

14                  THE COURT:    Never.

15                  MR. MARTIN:    Never.   Well, all kidding aside, Your

16      Honor, as I mentioned we have already resolved almost fifty of

17      the 325 that we've filed.

18                  We have several lawyers in our firm that are taking

19      calls from defendants.       We welcome a settlement, but which is,

20      we've been having weekly meetings and presenting those to Mr.

21      Miller.     And we've been resolving many, many cases.

22                  Everybody in this room is smart enough to know the

23      value when they see it, and we don't want to unnecessarily

24      cause parties to spend money if it's not appropriate.

25                  So that's the scheduling order.     Those are all the

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                     HOMEBANC    Filed 11/18/10 Page 28 of et
                                            CORPORATION,   67al.

                                                                    Page 28

1       comments that I had.

2                   One last comment, Your Honor, is that Mr. Hiller

3       (ph.) reached an agreement with Mr. Burnett.        It's not one of

4       my cases.     But he reached an agreement on an answer extension,

5       and if Your Honor may recall, we previously had asked Your

6       Honor if you actually wanted us to file stipulations, and you

7       indicated that you did.        And we started doing that.

8                   But there are some defendants who have gone ahead and

9       answered before we could get the stipulation on file.         And the

10      question was, do you want retroactive extensions, or once the

11      answer is on file, or the notice of dismissal, we're okay?

12                  THE COURT:     That's fine.

13                  MR. MARTIN:     Okay.

14                  Your Honor, I think that leaves Mr. Burnett's cases

15      and Mr. Werb, who represents Alston & Bird.

16                  MR. WERB:     Good afternoon, Your Honor.   It's still

17      afternoon.     Duane Werb of Werb & Sullivan, on behalf of the

18      law firm of Alston & Bird, LLP.

19                  Your Honor, with respect to this case, there are

20      allegations of fraudulent transfers as well as preferential

21      payments.     We have taken the initiative here of having filed a

22      motion to dismiss.        In addition to the motion to dismiss, the

23      trustee has filed an opposition to said motion, and we have

24      also just recently filed our reply brief.

25                  We're in the process of probably tomorrow filing a

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                     HOMEBANC    Filed 11/18/10 Page 29 of et
                                            CORPORATION,   67al.

                                                                     Page 29

1       certificate of completion of briefing, in which we will be

2       requesting oral argument.          I have reached out to Mr. Burnett

3       and he can confer -- concurs and has no opposition to the

4       request for oral argument.          And at this time, based on these

5       representations to the Court, we would request that this

6       particular case be carved out of the proposed scheduling

7       order.

8                   THE COURT:     See -- is that a joint request?

9                   MR. BURNETT:     Your Honor, William Burnett, Flaster

10      Greenberg.     I responded in the sense that we didn't want to

11      make explicit exceptions to individual defendants, so I said

12      no with deference to what Your Honor believes is the

13      appropriate thing to do under the circumstance.

14                  My concern was a process concern rather than a

15      specific concern with respect to Alston & Bird.

16                  THE COURT:     When will the notice of completion of

17      briefing come in?        Remind me.

18                  MR. WERB:     It will be filed tomorrow.

19                  THE COURT:     Tomorrow?    Okay.

20                  MR. WERB:     At the latest Wednesday, Your Honor.

21      But --

22                  THE COURT:     Okay.    You can carve it out.

23                  MR. BURNETT:     Thank you, Your Honor.    We'll be glad

24      to do that.

25                  THE COURT:     All right.

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                     HOMEBANC    Filed 11/18/10 Page 30 of et
                                            CORPORATION,   67al.

                                                                    Page 30

1                   MR. WERB:     Thank you.

2                   MR. MARTIN:     So, Your Honor, with that would you like

3       for me to make those few changes on the scheduling order and

4       submit one under certification of counsel?

5                   THE COURT:     Yes, subject to just letting me ask for

6       the record whether any defendant wishes to be heard at this

7       point?

8                   Okay, I hear no response.

9                   The answer is yes.

10                  MR. MARTIN:     Okay.    We'll do that and submit it on

11      the main docket, and then once Your Honor signs one, well I

12      guess, do you want 360, or are you comfortable signing one

13      that has these schedules attached to them, and us entering

14      them in each of the cases?

15                  THE COURT:     Take a wild guess.

16                  MR. MARTIN:     I would think that Your Honor would want

17      one, but --

18                  THE COURT:     You would be right.

19                  MR. MARTIN:     All right.    We'll do it that way, then.

20                  THE COURT:     Okay.    Thank you.

21                  MR. MARTIN:     Your Honor, I think that brings to

22      conclusion the status conference.          And that leaves the final

23      item on the agenda.

24                  Your Honor has entered the order for the Miller

25      Coffey Tate firm's fee application.          And Your Honor did not

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                     HOMEBANC    Filed 11/18/10 Page 31 of et
                                            CORPORATION,   67al.

                                                                     Page 31

1       enter an order on my law firm's application, which leads me to

2       believe that you may have a question.

3                   THE COURT:     I did.    You had --

4                   MR. MARTIN:     So I am here to answer that.

5                   THE COURT:     I'm delighted to know that.     If you would

6       turn to the -- there's no page number, but it's -- it's the

7       second page in the disbursement section.

8                   MR. MARTIN:     So this is one of the exhibits?

9                   THE COURT:     Yeah.    The top entry on which is for

10      December 14, '09.        It's at the top of the page, $5.50 delivery

11      service.     It's not what I have a question about, but it's to

12      help you get to the page.

13                  MR. MARTIN:     Okay.

14                  THE COURT:     It's almost at the --

15                  MR. MARTIN:     $5.50 on 12/14?

16                  THE COURT:     Yes.

17                  MR. MARTIN:     Yes, I see that, Your Honor.

18                  THE COURT:     Okay.    Now, I note that on the 17th of

19      February of this year, and the next day there was what I would

20      consider to be a lot of secretarial overtime.

21                  MR. MARTIN:     Yes.

22                  THE COURT:     What was going on there?

23                  MR. MARTIN:     That was the week that we were filing

24      the complaints.     So what we did is we had set up a -- as

25      you'll note that it says secretarial overtime - Boston.             I --

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                     HOMEBANC    Filed 11/18/10 Page 32 of et
                                            CORPORATION,   67al.

                                                                   Page 32

1       actually, my firms document production center is in Boston.

2       So we set up a conference room and we had three or four

3       different paralegals and secretaries, the clerk's office was

4       kind enough to give us temporary passwords, and they sat, I

5       think twelve, thirteen, fourteen hours a day e-filing the

6       various complaints and making revisions and the like.

7                   So I know that typically secretarial overtime is not

8       something that would be included, but in this instance, after

9       discussions with Mr. Miller, we decided to submit it.          But

10      obviously we defer to Your Honor on the appropriateness of

11      that.

12                  THE COURT:    I'm satisfied with the explanation, I've

13      signed the order.

14                  MR. MARTIN:    Thank you.

15                  THE COURT:    Is there anything further for today?

16                  MR. MARTIN:    Not for us on this case.    I can't speak

17      for Your Honor's schedule.

18                  THE COURT:    All right.    Thank you very much.   That

19      concludes this hearing and the Court will stand in recess to

20      permit the parties in Pacific Energy to set up again.

21                  MR. MARTIN:    Thank you, sir.

22                  (Proceedings concluded at 5:09 PM)

23

24

25

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                                          11/18/10
                                                 A   Page 33 of 67

                                                                     Page 33

1

2       DEFENDANT NAME                    ADVERSARY PROCEEDING NUMBER

3

4       28th Row Loft & Flats                                   10-50559

5

6       6 Marathons LLC d/b/a

7          Rosemurgy Properties                                 10-50699

8

9       A & V Appraisals Inc                                    10-50473

10

11      Access Real Estate Loan Services                        10-50530

12

13      ACSYS Inc.                                              10-50477

14

15      ADP Inc.                                                10-50480

16

17      Aflac                                                   10-50310

18

19      Akil Woolfolk                                           10-50485

20

21      AKRB Corporation                                        10-50303

22

23      Aldana Gentinetta                                       10-50313

24

25      Allregs                                                 10-50487

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 34 of 67

                                                                     Page 34

1

2       American Escrow & Closing                                    10-50491

3

4       American Fiber Systems                                       10-50317

5

6       Americas Servicing Co.                                       10-50560

7

8       Americlean Building Maintenance Inc.                         10-50562

9

10      Angela Barner Inc.                                           10-50565

11

12      Appraisal Associates of the

13         Treasure Coast Inc.                                       10-50568

14

15      AppraisalFirst Inc.                                          10-50572

16

17      Aprimo                                                       10-50686

18

19      Architectural Installation Atlanta Inc. 10-50320

20

21      Arlington Computer Product                                   10-50493

22

23      Aspect Software Inc.                                         10-50323

24

25      AT&T                                                         10-50705

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 35 of 67

                                                                     Page 35

1

2       Atlanta East Cobb Inc.                                       10-50305

3

4       Atlanta Metro East Partners LLC                              10-50517

5

6       ATLWC LLC                                                    10-50306

7

8       Augusta Partners LLC                                         10-50309

9

10      B&B Realty LLC                                               10-50314

11

12      Ballantyne Market                                            10-50325

13

14      Bank of Bartlett                                             10-50575

15

16      Bass Family Enterprises Inc.                                 10-50551

17

18      BB Hunter's Developments                                     10-50319

19

20      Bell South                                                   10-50706

21

22      Bell South Long Distance                                     10-50707

23

24      BellSouth Communications                                     10-50708

25

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 36 of 67

                                                                     Page 36

1

2       Belvedere Capital LLC                                        10-50329

3

4       Big Bend Realty Jacksonville                                 10-50330

5

6       Bloomberg LP                                                 10-50336

7

8       Blue Cross Blue Shield of GA                                 10-50563

9

10      Bon Appetite Catering LLC                                    10-50555

11

12      Booth Research Svc Inc.                                      10-50339

13

14      Brayson Family Mortgage LLC                                  10-50518

15

16      Broadridge                                                   10-50346

17

18      Brooks Systems LLC                                           10-50350

19

20      Bueno & Finnick Inc.                                         10-50354

21

22      CareerBuilder Inc                                            10-50687

23

24      Carolina Hurricanes Hockey Club                              10-50308

25

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                                          11/18/10
                                                 A   Page 37 of 67

                                                                     Page 37

1

2       Cary Partners LLC                                            10-50315

3

4       CBCINNOVIS Inc.                                              10-50497

5

6       CDW Direct                                                   10-50360

7

8       CE Anderson                                                  10-50507

9

10      Central Orlando Realty LLC                                   10-50321

11

12      Century 21 Caruana                                           10-50688

13

14      Century 21 City                                              10-50548

15

16      Century 21 Tenace Realty                                     10-50324

17

18      Certified Appraisals                                         10-50327

19

20      Charles E. Hawkins                                           10-50558

21

22      Charles McGuire                                              10-50689

23

24      Chatham Legacy LLC                                           10-50332

25

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 38 of 67

                                                                     Page 38

1

2       CheckFree Services Corporation                               10-50335

3

4       Cingular Wireless                                            10-50697

5

6       Cohber Press Inc.                                            10-50340

7

8       Coldwell Banker Cascade                                      10-50349

9

10      Community Partners LLC                                       10-50353

11

12      Compass Display Group                                        10-50564

13

14      Cornerstone Appraisals Inc.                                  10-50358

15

16      Corporate Chaplains of America                               10-50363

17

18      CP Morgan                                                    10-50304

19

20      Crabtree Partners LLC                                        10-50365

21

22      Crosswinds at Amelia                                         10-50521

23

24      Crosswinds at Palencia                                       10-50523

25

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 39 of 67

                                                                     Page 39

1

2       Crosswinds at Partin Settlement                              10-50529

3

4       Crosswinds at Village Loft                                   10-50526

5

6       Daniel Fries & Associates                                    10-50474

7

8       Data Insights Inc.                                           10-50476

9

10      David Welch Services                                         10-50302

11

12      Dawson Cherokee Capital LLC                                  10-50567

13

14      Dawsonville Realty Group LLC                                 10-50569

15

16      DeKalb County Dept of Finance                                10-50307

17

18      Dimension Data                                               10-50311

19

20      DocFly LLC                                                   10-50312

21

22      Douglasville Development LLC                                 10-50531

23

24      DS Murphy & Associates Inc.                                  10-50464

25

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 40 of 67

                                                                     Page 40

1

2       DS Murphy & Associates of Florida                            10-50467

3

4       DS Murphy & Associates of

5          North Carolina                                            10-50470

6

7       Duffey Appraisals Inc.                                       10-50316

8

9       Duke Realty Limited Partnership                              10-50318

10

11      Eagle Realty LLC                                             10-50322

12

13      Eagles Landing Appraisal                                     10-50533

14

15      Emily Drews                                                  10-50326

16

17      F & D Holdings LLC                                           10-50571

18

19      Facilitec                                                    10-50453

20

21      Fairview Plaza Associates                                    10-50457

22

23      Family Support Registry                                      10-50574

24

25      Fannie Mae                                                   10-50701

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 41 of 67

                                                                     Page 41

1

2       Federal National Mortgage Association                        10-50700

3

4       Fiberlink Communications                                     10-50459

5

6       Financial Industry Computer

7          Systems, Inc.                                             10-50576

8

9       First American Credco, Inc.                                  10-50539

10

11      First American Field Services                                10-50512

12

13      First American Flood Data                                    10-50460

14

15      Fiserv/Imagesoft                                             10-50553

16

17      FLC LLC                                                      10-50328

18

19      Fortney & Scott LLC                                          10-50461

20

21      Franzen & Salzano PC                                         10-50463

22

23      Freddie Mac                                                  10-50702

24

25      FTS Real Estate Appraisers                                   10-50333

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 42 of 67

                                                                     Page 42

1

2       Garnik                                                       10-50468

3

4       Georgia Power                                                10-50690

5

6       Georgia Southern Real Estate Group LLC                       10-50469

7

8       Global Knowledge Software                                    10-50478

9

10      GN Enterprises LLC                                           10-50466

11

12      Greg Sepanski                                                10-50481

13

14      Gryphon Investments                                          10-50691

15

16      Gulf Coast Appraisal & Associates Inc.                       10-50513

17

18      Gulf Coast Realty Seminole                                   10-50483

19

20      Hasler Financial Services                                    10-50418

21

22      Henderson Appraisal Company                                  10-50419

23

24      High & Associates                                            10-50570

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 43 of 67

                                                                     Page 43

1

2       Holt Lee Construction Inc.                                   10-50420

3

4       Image Properties                                             10-50423

5

6       Information Access Management                                10-50425

7

8       Ingle Courier Service                                        10-50573

9

10      Innovative Architects                                        10-50471

11

12      Insight Global Inc                                           10-50692

13

14      InterCall                                                    10-50535

15

16      Interlsland Mortgage Corp.                                   10-50426

17

18      Inter-Tel Leasing Inc.                                       10-50428

19

20      Interthinx                                                   10-50430

21

22      ITP Realty LLC                                               10-50421

23

24      Jackson Lewis LLP                                            10-50542

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 44 of 67

                                                                     Page 44

1

2       Jacksonville Concourse                                       10-50540

3

4       James N. Barber                                              10-50577

5

6       Jeffrey Campion                                              10-50578

7

8       JMK LLC                                                      10-50694

9

10      Jocelyn Stripling                                            10-50433

11

12      Johnson & Manning Five Star

13         Properties, Inc.                                          10-50580

14

15      Kent W. Colton                                               10-50437

16

17      Kevin Finneran                                               10-50441

18

19      King & Spalding                                              10-50442

20

21      Knox Sports Marketing                                        10-50475

22

23      Lake Norman Cornelius                                        10-50544

24

25      Lake Wylie Market Center                                     10-50516

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 45 of 67

                                                                     Page 45

1

2       Lakeshore Appraisals Inc.                                    10-50424

3

4       Landmark Realty of Bloomingdale

5          at Fish Hawk Inc.                                         10-50427

6       Landmark Realty of Brandon                                   10-50503

7

8       Landmark Realty of South Tampa                               10-50520

9

10      Lang Realty                                                  10-50505

11

12      Lanier Partners LLC                                          10-50429

13

14      Larry Marchant Productions                                   10-50545

15

16      Laser Life                                                   10-50432

17

18      Legacy Village                                               10-50582

19

20      Lifestyles Realty LLC                                        10-50435

21

22      LSI Financial Company                                        10-50422

23

24      Madison Envoy Inc                                            10-50584

25

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 46 of 67

                                                                     Page 46

1

2       Main Street Associates Inc.                                  10-50440

3

4       Masergy Communications Inc.                                  10-50506

5

6       MB Appraisal                                                 10-50508

7

8       McKee Nelson LLP                                             10-50450

9

10      McNamara & Company                                           10-50455

11

12      MDA Mindbox Inc.                                             10-50376

13

14      Metavante Lending Solutions                                  10-50488

15

16      Metro Atlanta Chamber of Commerce                            10-50522

17

18      Metro Atlanta LLC                                            10-50525

19

20      Microtel Inn & Suites                                        10-50693

21

22      MIL Owner LLC                                                10-50380

23

24      Mill Creek Forest Partners                                   10-50384

25

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 47 of 67

                                                                     Page 47

1

2       Millenia Park One LLC                                        10-50390

3

4       Miller Appraisal Group                                       10-50394

5

6       Mitchell Morris Dev LLC                                      10-50397

7

8       Moody's Economy.com                                          10-50412

9

10      Moody's Investor Service                                     10-50411

11

12      More Business Solutions                                      10-50588

13

14      Mortgage Bankers Association of Georgia 10-50532

15

16      Mortgage Guaranty Insurance                                  10-50413

17

18      Mortgage Market Guide LLC                                    10-50414

19

20      MRT Westpark LLC                                             10-50557

21

22      Muzak Mid Atlantic                                           10-50490

23

24      Myriad Solutions Inc.                                        10-50415

25

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     212-267-6868                 www.veritext.com                     516-608-2400
       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 48 of 67

                                                                     Page 48

1

2       Nashville Predators                                          10-50417

3

4       Nationwide Appraisal Service

5          Corporation                                               10-50489

6

7       NCP Solutions                                                10-50416

8

9       NE Prof Partners/Loganville                                  10-50536

10

11      Neese & Associates Inc                                       10-50475

12

13      Neon Zebra LLC                                               10-50431

14

15      NetBank Corporation                                          10-50434

16

17      Newnan Partners LLC                                          10-50436

18

19      Nexgen Appraisal Services                                    10-50439

20

21      NightGlass Media Group Inc.                                  10-50492

22

23      North Gwinnett Partners                                      10-50443

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 49 of 67

                                                                     Page 49

1

2       Northeast Professional Partners LLC

3         d/b/a Keller Williams Realty                      10-50528

4

5       Odell Appraisal Services                            10-50594

6

7       Olympus Capital Holdings Asia LP                    10-50446

8

9       Paradise Appraisals                                 10-50495

10

11      Paralegal Associates                                10-50452

12

13      PARGAR LLC                                          10-50447

14

15      Park Creek Realty                                   10-50596

16

17      Parris Wise Integrators Inc.                        10-50456

18

19      Partners Realty SW LLC                              10-50369

20

21      Paul E Finnen & Associate                           $50,395.00 (sic)

22

23      PBF Appraisals LLC                                  10-50494

24

25      PCI Services Inc.                                   10-50561

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 50 of 67

                                                                     Page 50

1

2       Peachtree Rd Realty Associates                               10-50374

3

4       Pendergrast & Jones PC                                       10-50379

5

6       Performance Mastery Institute                                10-50509

7

8       Perimeter East Partners                                      10-50383

9

10      Perimeter Summit Parcel 2

11         Limited Partnership                                       10-50389

12

13      Phase One - DRP Limited                                      10-50698

14

15      Phoenix Analytic Services                                    10-50392

16

17      PJKI LLC                                                     10-50449

18

19      Platinum Partners North LLC                                  10-50566

20

21      Premier Atlanta LLC                                          10-50399

22

23      Premier Design Homes, Inc.                                   10-50601

24

25      Pro Technology                                               10-50603

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     212-267-6868                 www.veritext.com                     516-608-2400
       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 51 of 67

                                                                     Page 51

1

2       Producers Group I LLC                                        10-50402

3

4       Professional Appraisals                                      10-50405

5

6       Professional Center at the Gardens                           10-50534

7

8       Professional Partners LLC                                    10-50407

9

10      Professionals Real Estate of

11         South Florida, LLC, d/b/a Remax

12         Professionals Real Estate                                 10-50538

13

14      Prolink Inc                                                  10-50408

15

16      Property Research Services                                   10-50511

17

18      Pursley Lowery Meeks LLP

19         Attorney at Law                                           10-50605

20

21      Quantitative Risk Management                                 10-50409

22

23      Quantum Homes Inc                                            10-50410

24

25      Raleigh Partners LLC                                         10-50579

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 52 of 67

                                                                     Page 52

1

2       RE Group of Florida LLC                                      10-50704

3

4       Realsys Restoration Service                                  10-50370

5

6       Realty Atlanta Midtown LLC                                   10-50373

7

8       Realty First Atlanta LLC                                     10-50377

9

10      Realty Grand South LLC                                       10-50581

11

12      Realty Professionals Inc                                     10-50381

13

14      Realty Professionals of Boynton

15         Beach LLC                                                 10-50385

16

17      Realty Professionals of

18         Ft. Lauderdale LLC                                        10-50537

19

20      Remax PowerPro Realty                                        10-50695

21

22      Ricky Chastain                                               10-50387

23

24      Right Management                                             10-50549

25

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 53 of 67

                                                                     Page 53

1

2       Rita M. Rindone                                              10-50391

3

4       Road 1 Express, Inc.                                         10-50543

5

6       Robert Bare & Assoc.                                         10-50462

7

8       Rocky Point Joint Venture                                    10-50541

9

10      Rondebosch Inc.                                              10-50395

11

12      Roswell Realty                                               10-50398

13

14      Royal Cup Coffee                                             10-50465

15

16      Royal Oaks Building Group                                    10-50401

17

18      RR Donnelley                                                 10-50367

19

20      Salary.com Inc                                               10-50583

21

22      Sarasota Central Ventures                                    10-50331

23

24      Sarasota Lakewood Ranch Ventures LLC                         10-50500

25

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     212-267-6868                 www.veritext.com                     516-608-2400
       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 54 of 67

                                                                     Page 54

1

2       Sarasota South Ventures LLC                                  10-50585

3

4       SAS Institute Inc.                                           10-50403

5

6       Scott E. Wilkinson & Associates                              10-50334

7

8       Select Partners LLC                                          10-50338

9

10      Seward & Kissel LLP                                          10-50341

11

12      Shops at East View                                           10-50344

13

14      Silverpop Systems Inc.                                       10-50347

15

16      Smart Numbers                                                10-50352

17

18      SMGII LLC Summit Marketing                                   10-50498

19

20      SNG Enterprises LLC                                          10-50586

21

22      SOBRO Catering                                               10-50589

23

24      Source One Direct                                            10-50356

25

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 55 of 67

                                                                     Page 55

1

2       South Cobb RE Partners                                       10-50502

3

4       South Forsyth Partners LLC                                   10-50546

5

6       Southeast Business Product                                   10-50504

7

8       Southwest Orlando Realty LLC                                 10-50547

9

10      Spohntown Corp.                                              10-50357

11

12      Stamps.com Inc.                                              10-50550

13

14      Standard Office Systems                                      10-50337

15

16      Starrit Appraisal Group                                      10-50496

17

18      State Home Mortgage                                          10-50591

19

20      Staybridge Suites by Holiday Inn                             10-50342

21

22      Steed Enterprises, Inc. d/b/a RE/MAX

23         Around Atlanta, Marietta West                             10-50515

24

25      Stockbridge Partners LLC                                     10-50345

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 56 of 67

                                                                     Page 56

1

2       Strategic Staffing Solutions                                 10-50587

3

4       Stuart Hospitality                                           10-50590

5

6       Sunland Construction Inc                                     10-50696

7

8       Syntes Language Group Inc                                    10-50593

9

10      TalentMine LLC                                               10-50348

11

12      Talx Corporation                                             10-50351

13

14      Tampa Bay Buccaneers                                         10-50510

15

16      Tandus Inc.                                                  10-50355

17

18      Tax Verification Bureau                                      10-50359

19

20      TBR II Development LLC                                       10-50362

21

22      Teachers Insurance and Annuity                               10-50364

23

24      The Appraisal Company                                        10-50499

25

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 57 of 67

                                                                     Page 57

1

2       The Benchmark Group Inc.                                     10-50501

3

4       The EPI Companies                                            10-50552

5

6       The Hofer Appraisal Group                                    10-50366

7

8       The Newport Group Inc                                        10-50368

9

10      The Realty Group                                             10-50371

11

12      The Thomas Law Group PA                                      10-50595

13

14      The Wiley Group                                              10-50375

15

16      Thomas Financial Corp                                        10-50556

17

18      Towne Center Park LLC                                        10-50378

19

20      Tracy Tyler                                                  10-50382

21

22      Tri-Best Building Services                                   10-50388

23

24      Tripp Trademark Homes                                        10-50597

25

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 58 of 67

                                                                     Page 58

1

2       U.S. Department of Housing and

3          Urban Development                                         10-50703

4

5       UCM/Proventure - Synergy Business

6          Park LLC                                                  10-50393

7

8       Union Co Market Center LLC                                   10-50396

9

10      United Parcel Service                                        10-50400

11

12      University Center Market Center

13         d/b/a Keller Williams University                          10-50519

14

15      US Communications                                            10-50404

16

17      US Express Leasing Inc.                                      10-50524

18

19      US LEC Corp                                                  10-50406

20

21      Victoria Homes LLC                                           10-50599

22

23      Vigilar Inc                                                  10-50600

24

25      Viking Sparks Ibg                                            10-50438

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     212-267-6868                 www.veritext.com                     516-608-2400
       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 59 of 67

                                                                     Page 59

1

2       Vision Service Plan                                          10-50444

3

4       Weitzer/Kislak Sawgrass LLLP                                 10-50445

5

6       Weston International Real Estate                             10-50448

7

8       WhiteHall Quality Homes                                      10-50602

9

10      Williams Schifino Mangione Steady

11         Attorney at Law                                           10-50604

12

13      Winfield & Associates Inc. T/A

14         Amerivest Realty                                          10-50527

15

16      Winmark Capital Corporation                                  10-50451

17

18      Winwin Charlotte Partners                                    10-50479

19

20      Wonderlic Inc.                                               10-50482

21

22      Woodside Greyhawk LLC                                        10-50606

23

24      Woodside Homes of Florida                                    10-50454

25

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 A   Page 60 of 67

                                                                     Page 60

1

2       Wright Appraisal Services                                    10-50484

3

4       WXIA-TV                                                      10-50608

5

6       York Simpson Underwood                                       10-50458

7

8       ZL Metz Homes LLC                                            10-50554

9

10      INSIDERS

11      N.J. Paul Lopez                                              10-50721

12

13      Patrick S. Flood                                             10-50720

14

15      David C. Aiken                                               10-50722

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 B   Page 61 of 67

                                                                     Page 61

1

2       DEFENDANT NAME                        ADVERSARY PROCEEDING NUMBER

3

4       ATL Lakeside                                        10-50619

5

6       Adtech Global Solutions                             10-50620

7

8       Alston & Bird, LLP                                  10-50621

9

10      American Realty Professionals                       10-50684

11

12      Bank of Oklahoma                                    10-50622

13

14      Bear Stearns Financial Products                     10-50623

15

16      CA Inc                                              10-50683

17

18      CIT Technology Financial Services                   10-50624

19

20      CitiBank New York                                   10-50625

21

22      CitiMortgage                                        10-50682

23

24      CitiMortgage Master Servicing                       10-50626

25

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     212-267-6868                 www.veritext.com                     516-608-2400
       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 B   Page 62 of 67

                                                                     Page 62

1

2       Citibank Lockbox                                             10-50627

3

4       Citrix Systems, Inc.                                         10-50628

5

6       CMI-Citi Mortgage Correspondent Lending 10-50629

7

8       ComputerShare Investor Services                              10-50630

9

10      Countrywide                                                  10-50631

11

12      Countrywide Home Loans                                       10-50632

13

14      Countrywide Securities Corporation                           10-50633

15

16      Credit Suisse First Boston                                   10-50681

17

18      Credit Suisse Securities (USA) LLC                           10-50634

19

20      Deloitte and Touche                                          10-50635

21

22      Derivative Solutions, Inc.                                   10-50636

23

24      Ernst & Young                                                10-50637

25

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 B   Page 63 of 67

                                                                     Page 63

1

2       EMC Mortgage Corporation                                     10-50638

3

4       Ernst & Young LLP                                            10-50639

5

6       Florida Power & Light Company                                10-50640

7

8       GE Capital                                                   10-50641

9

10      GE Mortgage Insurance                                        10-50642

11

12      GE Technology Finance                                        10-50643

13

14      GMAC RFC Receivables                                         10-50644

15

16      GMAC RFC                                                     10-50645

17

18      GMR Real Estate, Inc.                                        10-50646

19

20      General American Life Insurance Co.                          10-50680

21

22      GenWorth Mortgage Insurance                                  10-50647

23

24      Hartford Life                                                10-50648

25

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 B   Page 64 of 67

                                                                     Page 64

1

2       Home Depot                                                   10-50649

3

4       Innovative Service Technology                                10-50650

5

6       Integra                                                      10-50679

7

8       Internap Network Services                                    10-50651

9

10      Iron Mountain                                                10-50652

11

12      Marsh, Inc.                                                  10-50653

13

14      Mayer Brown Rowe & Maw, LLP                                  10-50654

15

16      Mellon Bank NA                                               10-50655

17

18      Metropolitan Life Insurance                                  10-50656

19

20      Monster, Inc.                                                10-50678

21

22      NYSE Market Inc.                                             10-50717

23

24      NetASPx Inc.                                                 10-50657

25

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     212-267-6868                 www.veritext.com                     516-608-2400
       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 B   Page 65 of 67

                                                                     Page 65

1

2       One Sarasota Tower Inc.                                      10-50659

3

4       Premium Assignment Corp.                                     10-50660

5

6       RBS Greenwich Capital                                        10-50661

7

8       Reliance Trust Company                                       10-50662

9

10      Republic Mortgage Ins Co.                                    10-50676

11

12      Sprint                                                       10-50663

13

14      The Yield Book, Inc.                                         10-50664

15

16      Thomson Financial                                            10-50716

17

18      TransUnion Settlement Solutions, Inc.                        10-50675

19

20      US Bancorp                                                   10-50666

21

22      Wachovia Insurance Service                                   10-50667

23

24      Wells Fargo Bank NA                                          10-50669

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       Case 10-50543-KJC   Doc 14   FiledExhibit
                                          11/18/10
                                                 B   Page 66 of 67

                                                                     Page 66

1

2       Wells Fargo Financial                                        10-50670

3

4       Wolters Kluwer Financial Services                            10-50671

5

6       James B. Witherow                                            10-50715

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       Case 10-50543-KJC   Doc 14             Filed 11/18/10   Page 67 of 67

                                                                               Page 67

1

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3

4       I, Miriam Greenman, certify that the foregoing transcript is a

5       true and accurate record of the proceedings.

6         Miriam           Digitally signed by Miriam
                           Greenman
                           DN: cn=Miriam Greenman, o, ou,


7         Greenman         email=digital1@veritext.com, c=US
                           Date: 2010.11.17 15:55:21 -05'00'
        ___________________________________

8       MIRIAM GREENMAN

9       Veritext

10      200 Old Country Road

11      Suite 580

12      Mineola, NY 11501

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14      Date:   November 17, 2010

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